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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK




NEW YORK IMMIGRATION
COALITION, et al.,

                   Plaintiffs,
                                                   No. 1:18-cv-2921 (JMF)
         v.

UNITED STATES DEPARTMENT OF
COMMERCE, et al.,

                   Defendants.



              NOTICE OF SETTLEMENT RE: FEES, EXPENSES, AND COSTS

       Plaintiffs New York Immigration Coalition, Casa de Maryland, American-Arab Anti-

Discrimination Committee, ADC Research Institute, and Make The Road New York write to

inform the Court that they have reached a settlement with Defendants resolving their claim for

any fees, costs, and expenses relating to this action and therefore will not be filing a motion for

fees or bill of costs today as previously contemplated.

DATE: August 2, 2019                 Respectfully submitted,

                                      AMERICAN CIVIL LIBERTIES UNION
                                      ARNOLD & PORTER KAYE SCHOLER LLP
                                      NEW YORK CIVIL LIBERTIES UNION

                                      By: /s/        Dale Ho
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                                              Attorneys for the NYIC Plaintiffs




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                             CERTIFICATE OF SERVICE

      I hereby certify that on this day of August 2, 2019, the foregoing NOTICE OF

SETTLEMENT RE: FEES, EXPENSES, AND COSTS was served on all counsel of record via

CM/ECF.

                                                 /s/    Dale Ho        ________________
                                                        Dale Ho




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